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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

                                NEW ORLEANS DIVISION



IN RE: FEMA TRAILER                                       MDL NO. 07-1873
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION                                      SECTION N-5
                                                          JUDGE ENGELHARDT
                                                          MAG. JUDGE CHASEZ

THIS DOCUMENT RELATES TO ALL CASES

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PLAINTIFFS’ MEMORANDUM IN RESPONSE TO THE UNITED STATES’ MOTION
             TO STRIKE THE VENUE ALLEGATIONS IN THE
    PLAINTIFFS’ THIRD AND FOURTH SUPPLEMENTAL AND AMENDED
               ADMINISTRATIVE MASTER COMPLAINTS

MAY IT PLEASE THE COURT:

       Plaintiffs, through undersigned counsel, respectfully submit that the United States’

Motion to Strike the Venue Allegations in the Plaintiffs’ Third and Fourth Supplemental and

Amended Administrative Master Complaints is moot. Plaintiffs have filed a Motion for Leave to

File a Fifth Supplemental and Amended Administrative Master Complaint in which it seeks to

simplify the venue allegations set forth in the Third and Fourth Administrative Master

Complaints in order to make them applicable to the United States of America. (Rec. Doc. #####)

Accordingly, the United States’ Motion to Strike should be rendered moot.

                                    Respectfully submitted:

                                    FEMA TRAILER FORMALDEHYDE
                                    PRODUCT LIABILITY LITIGATION
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                               COURT-APPOINTED PLAINTIFFS’
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                               ROBERT BECNEL, #14072
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                               DENNIS REICH, Texas #16739600
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                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
upon counsel of record as indicated below in accordance with the Federal Rules of Civil
Procedure on June 22, 2010.
                                            /s/Gerald E. Meunier      _
                                            GERALD E. MEUNIER
